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Attorneys for Defendant Brigham Young University


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 SAMUEL JACOB GOUCHENOUR, JR., an
 individual,
                                                           NOTICE OF REMOVAL
        Plaintiff,

 vs.
                                                                   2:19-cv-00947-CMR
                                                       Civil No. _____________________
 BRIGHAM YOUNG UNIVERSITY, a Utah
 non-profit corporation; and DOES 1-15,                 Judge _______________________

                Defendants.


       PLEASE TAKE NOTICE that Defendant Brigham Young University (“BYU” or

“Defendant”) hereby removes the state court action entitled Samuel Jacob Gouchenour, Jr. v.

Brigham Young University, et al., Civil Number 190400547 (the “Action”), from the Fourth

Judicial District Court, Utah County, State of Utah, to this Court based on the grounds of federal

question jurisdiction pursuant to 28 U.S.C. § 1331, as authorized by 28 U.S.C. §§ 1441 and

1446. As grounds for removal, BYU alleges as follows:
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       1.      On April 9, 2019, Plaintiff Samuel Jacob Gouchenour, Jr. (“Gouchenour” or

“Plaintiff”) commenced this action in the Fourth Judicial District Court, Utah County, State of

Utah, by filing a Complaint (attached hereto as Exhibit A), with the civil action docketed as Civil

Case No. 190400547.

       2.      The Complaint alleged the following claims, all of which are based solely on Utah

state law: (1) Breach of Implied and Express Employment Contracts, (2) Breach of the Implied

Covenant of Good Faith and Fair Dealing, (3) Intentional Infliction of Emotional Distress, (4)

Negligent Infliction of Emotional Distress, and (5) Defamation. See Ex. A at 1, 12–15.

       3.      Plaintiff never served the Complaint.

       4.      On May 30, 2019, Plaintiff filed his First Amended Complaint (attached hereto as

Exhibit B), as well as Exhibits 1-4 to the First Amended Complaint (attached hereto as Exhibit

C).

       5.      The First Amended Complaint alleged the following claims, all of which are

based solely on Utah state law: (1) Breach of Implied and Express Employment Contracts, (2)

Breach of the Implied Covenant of Good Faith and Fair Dealing, (3) Intentional Infliction of

Emotional Distress, (4) Negligent Infliction of Emotional Distress, (5) Defamation, (6)

Intentional Misrepresentation and Negligent Misrepresentation, (7) Negligence, (8) Intentional

Interference with Prospective Economic Relations, (9) Tortious Interference with Economic

Relations, (10) Collateral Estoppel, and (11) Punitive Damages. See Ex. B at 1–2, 15–24.

       6.      On May 30, 2019, Plaintiff also filed a Notice of Appearance of Co-Counsel

Donald S. Reay (attached hereto as Exhibit D).

       7.      On June 19, 2019, Defendant filed an Acceptance of Service (attached hereto as

Exhibit E), acknowledging receipt and accepting service of Plaintiff’s First Amended Complaint.

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       8.      On November 1, 2019, Plaintiff filed his Second Amended Complaint (attached

hereto as Exhibit F).

       9.      The Second Amended Complaint alleged the following claims: (1) Title IX,

Gender Discrimination, Erroneous Result (Malicious Prosecution and Conspiracy); (2) Title IX,

Gender Discrimination, Deliberate Indifference (Denial of Fairness in the Investigations and

Proceedings of Disciplinary Actions); (3) Title IX Gender Discrimination, Deliberate

Indifference (Malicious Prosecution and Conspiracy); (4) Breach of Implied and Express

Employment Contracts; (5) Breach of the Implied Covenant of Good Faith and Fair Dealing; (6)

Intentional Infliction of Emotional Distress; (7) Negligent Infliction of Emotional Distress; (8)

Defamation; (9) Intentional Misrepresentation and Negligent Misrepresentation; (10)

Negligence; (11) Intentional Interference with Prospective Economic Relations; (12) Tortious

Interference with Economic Relations; (13) Collateral Estoppel; and (14) Punitive Damages. See

Ex. F at 1–2, 18–34.

       10.     BYU received a copy of the Second Amended Complaint on November 1, 2019.

       11.     BYU has not yet answered or otherwise responded to the Second Amended

Complaint.

       12.     With the filing of the Second Amended Complaint, this is now a civil action over

which this Court has original jurisdiction pursuant to 28 U.S.C. § 1331, and it may be removed

to this Court by Defendants pursuant to 28 U.S.C. § 1441 because the Second Amended

Complaint contains federal claims arising under Title IX of the Education Amendments Act of

1972, 20 U.S.C. § 1681 et seq.

       13.     Removal is timely, pursuant to 28 U.S.C. § 1446(b)(3), because BYU has filed

this Notice of Removal “within 30 days after receipt by [BYU], through service or otherwise, of

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a copy of an amended pleading, motion, order or other paper from which it may first be

ascertained that the case is one which is or has become removable.” See 28 U.S.C. § 1446(b)(3).

          14.    This Court is the District Court of the United States for the district and division

embracing the place where the Action is pending (i.e., Utah County, Utah), and is, therefore, the

appropriate court for removal pursuant to 28 U.S.C. § 1441(a).

          15.    Pursuant to 28 U.S.C. § 1446(d), BYU has filed a written notice of this removal

(attached hereto as Exhibit G) with the Clerk of the Fourth Judicial District Court, Utah County,

State of Utah, which, along with this notice, is being served on Plaintiff’s counsel as required by

28 U.S.C. § 1446(d).

          16.    Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders

served on BYU are attached hereto as Exhibits A–F.

                                          CONCLUSION

          For the foregoing reasons, federal jurisdiction now exists under 28 U.S.C. § 1331, and

removal is appropriate under 28 U.S.C. § 1441.

          DATED this 27th day of November, 2019.

                                               RAY QUINNEY & NEBEKER P.C.

                                               /s/ Frederick R. Thaler, Jr.
                                               Frederick R. Thaler, Jr.
                                               Calvin R. Winder

                                               Attorneys for Defendant Brigham Young University
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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on the 27th day of November, 2019, a copy of the foregoing

NOTICE OF REMOVAL was electronically filed with the Clerk of Court using CM/ECF

system and served via United States Postal Service, prepaid, to the following:

          Justin D. Heideman
          Donald S. Reay
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                                             /s/ Melanie Martin


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